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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

DONALD KOESTER, JOHN CHASE,
EARNEST LEE, and CHARLES McCALEB,
a/k/a CHARLES SMITH, individually and on
behalf of others similarly situated,

               Plaintiffs,                            Civil Action No. 2:19-cv-02283-SHL
                                                             JURY DEMANDED
v.

USAA GENERAL INDEMNITY COMPANY and
UNITED SERVICES AUTOMOBILE ASSOCIATION,

            Defendants.
______________________________________________________________________________

                       SECOND AMENDED COMPLAINT
______________________________________________________________________________

       COME NOW Plaintiffs Donald Koester, John Chase, Earnest Lee, and Charles McCaleb

a/k/a/ Charles Smith (collectively, “Plaintiffs”), individually and on behalf of all others similarly

situated, with the written consent of USAA General Indemnity Company pursuant to Fed. R. Civ.

P 15(a)(2), and state and allege the following for their Second Amended Complaint against USAA

General Indemnity Company and United Services Automobile Association:

                  PARTIES, RESIDENCY, JURISDICTION AND VENUE

      1.       Plaintiff Donald Koester (“Koester”) is a citizen and resident of Memphis, Shelby

County, Tennessee. At all times relevant hereto, Koester owned a home located at 2539 Inverary

Drive, Memphis, Tennessee (the “Koester Home”).

      2.       Plaintiff John Chase (“Chase”) is a citizen and resident of Rocky Top, Anderson

County, Tennessee. At all times relevant hereto, Chase owned a home located at 310 Strong

Hollow Lane, Rocky Top, Tennessee (the “Chase Home”).
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      3.       Plaintiff Earnest Lee (“Lee”) is a citizen and resident of Clarksdale, Coahoma

County, Mississippi. At all times relevant hereto, Lee owned a home located at 10644 Highway

322 East Belleview Road, Clarksdale, Mississippi (the “Lee Home”).

      4.       Plaintiff Charles McCaleb a/k/a/ Charles Smith (“Smith”) is a citizen and resident

of Saucier, Harrison County, Mississippi. At all times relevant hereto, Smith owned a home

located at 12997 Vogle Road, Saucier, Mississippi (the “Smith Home”).

      5.       Defendant USAA General Indemnity Company (“UGIC”) is organized under the

laws of the State of Texas and headquartered in San Antonio, Texas. UGIC is authorized to sell

property insurance policies in the State of Mississippi and the State of Tennessee and is engaged

in the insurance business in the State of Tennessee, including Shelby County.

      6.       Defendant United Services Automobile Association (“USAA”) is organized under

the laws of the State of Texas and headquartered in San Antonio, Texas. USAA is authorized to

sell property insurance policies in the State of Mississippi and the State of Tennessee and is

engaged in the insurance business in the State of Tennessee, including Shelby County

      7.       UGIC is a subsidiary of USAA, which owns and controls UGIC.

      8.       UGIC and USAA (collectively, “Defendants”) engaged in the challenged claims

handling practice in a uniform manner and pursuant to a uniform policy.

      9.       USAA operates a centralized adjustment operation in which its adjusters work on

claims for multiple different entities, including both USAA and UGIC, using the same policies

and procedures challenged in this case for adjusting insurance claims.

     10.       The events giving rise to the individual claims asserted by Koester that are the

subject of this action occurred in the Western Division of the Western District of Tennessee.




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      11.      On information and belief, this Court has subject matter jurisdiction under the Class

Action Fairness Act, 28 U.S.C. § 1332(d) (“CAFA”).

      12.      This Court has personal jurisdiction over UGIC and USAA because they have

availed themselves of the privilege of conducting business and issuing insurance contracts

covering structures in the State of Tennessee.

                                                    FACTS

   A. The Koester Property Insurance Policy and Casualty Loss

      13.      At all times relevant hereto, Koester was the insured pursuant to an insurance

contract whereby UGIC agreed to insure, inter alia, the Koester Home against property damage,

bearing Policy No. GIC03748341090A (the “Koester Policy”). As relevant hereto, the term of the

Koester Policy was August 19, 2016 to August 29, 2017.

      14.      A copy of the Koester Policy is attached hereto as Exhibit “1”.

      15.      The Koester Policy provided insurance coverage for direct physical loss to the

buildings located on the insured premises, except as specifically excluded or limited by the Koester

Policy.

      16.      This lawsuit only concerns property insurance coverage for buildings, and not

personal contents, such as clothes and furniture.

      17.      Pursuant to the Koester Policy, Koester paid UGIC an annual premium in exchange

for insurance coverage. The required premiums were paid at all times relevant to this Complaint.

      18.      On or about July 30, 2017, the Koester Home suffered a fire loss (the “Koester

Loss”).




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      19.      The Koester Policy was in effect at the time of the Koester Loss, and the Koester

Loss is compensable under the terms of the Koester Policy. As it relates to the Koester Loss, there

is no applicable exclusion.

      20.      Koester promptly notified UGIC of the Koester Loss and made a claim against the

Koester Policy.

      21.      After its inspection, UGIC determined that the Koester Loss was covered by the

terms of the Koester Policy.

      22.      For the Koester Home, UGIC calculated its actual cash value (“ACV”) payment

obligation to Koester by first estimating the cost to repair or replace the damage with new materials

(replacement cost value, or “RCV”), then subtracted depreciation.

      23.      The Koester Policy defines ACV as “the amount it would cost to repair or replace

covered property, at the time of loss or damage, with material of like kind and quality, subject to

a deduction for deterioration, depreciation and obsolescence.”

   B. UGIC’s Calculation of Koester’s ACV Payment

      24.      In adjusting Koester’s claim, UGIC affirmatively and unilaterally chose to use a

“replacement cost less depreciation” methodology to calculate the losses and make its ACV

payment to Plaintiff.

      25.      UGIC did not calculate any portion of Koester’s casualty loss by reference to or

analysis of the alleged increases or decreases in the market value of his property, or the market

value of any portion of his property. UGIC did not conduct an appraisal of the market value of

any portion of Koester’s property.




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     26.       UGIC has waived, and is estopped from asserting, any right to contend that ACV

should have been calculated under any methodology other than the methodology actually used by

UGIC, specifically including any market value methodology.

     27.       UGIC used commercially-available computer software to make its RCV,

depreciation and ACV calculations.

     28.       UGIC calculated the RCV of Koester’s damaged property at $253,724.17.

     29.       UGIC then calculated the depreciation for Koester’s damaged property at

$81,732.45 and, after subtracting the $1,000.00 deductible, issued Koester an ACV payment in the

amount of $169,159.58.

     30.       Copies of UGIC’s calculation for Koester is attached as Exhibit “2”.

     31.       Koester was underpaid, and deprived of the use of his money from the time he

should have received it until the date he was belatedly paid, on his ACV claim as more fully

described below.

   C. The Chase Property Insurance Policy and Casualty Loss

     32.       At all times relevant hereto, Chase was the insured pursuant to an insurance contract

whereby UGIC agreed to insure, inter alia, the Chase Home against property damage, bearing

Policy No. GIC02879351490A (the “Chase Policy”). As relevant hereto, the term of the Chase

Policy was June 23, 2017 to June 23, 2018.

     33.       A copy of the Chase Policy is attached hereto as Exhibit “3”.

     34.       The Chase Policy provided insurance coverage for direct physical loss to the

buildings located on the insured premises, except as specifically excluded or limited by the Chase

Policy.




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      35.       This lawsuit only concerns property insurance coverage for buildings, and not

personal contents, such as clothes and furniture.

      36.       Pursuant to the Chase Policy, Chase paid UGIC an annual premium in exchange

for insurance coverage. The required premiums were paid at all times relevant to this pleading.

      37.       On or about July 20, 2017, the Chase Home suffered a fire loss (the “Chase Loss”).

      38.       The Chase Policy was in effect at the time of the Chase Loss, and the Chase Loss

is compensable under the terms of the Chase Policy. As it relates to the Chase Loss, there is no

applicable exclusion.

      39.       Chase promptly notified UGIC of the Chase Loss and made a claim against the

Chase Policy.

      40.       After its inspection, UGIC determined that the Chase Loss was covered by the

terms of the Chase Policy.

      41.       For the Chase Home, UGIC calculated its ACV payment obligation to Chase by

first estimating the cost to repair or replace the damage with new materials (RCV), then subtracted

depreciation.

      42.       The Chase Policy defines ACV as “the amount it would cost to repair or replace

covered property, at the time of loss or damage, with material of like kind and quality, subject to

a deduction for deterioration, depreciation and obsolescence.”

   D. UGIC’s Calculation of Chase’s ACV Payment

      43.       In adjusting Chase’s claim, UGIC affirmatively and unilaterally chose to use a

“replacement cost less depreciation” methodology to calculate the losses and make its ACV

payment to Plaintiff.




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      44.      UGIC did not calculate any portion of Chase’s casualty loss by reference to or

analysis of the alleged increases or decreases in the market value of his property, or the market

value of any portion of his property. UGIC did not conduct an appraisal of the market value of

any portion of Chase’s property.

      45.      UGIC has waived, and is estopped from asserting, any right to contend that ACV

should have been calculated under any methodology other than the methodology actually used by

UGIC, specifically including any market value methodology.

      46.      UGIC used commercially-available computer software to make its RCV,

depreciation and ACV calculations.

      47.      UGIC calculated the RCV of Chase’s damaged property at $116,967.64.

      48.      UGIC then calculated the depreciation for Chase’s damaged property at $29,680.14

and, after subtracting the $1,000.00 deductible, issued Chase an ACV payment in the amount of

$86,287.50.

      49.      A copy of UGIC’s calculation for Chase is attached as Exhibit “4”.

      50.      Chase was underpaid on his ACV claim as more fully described below.

   E. The Lee Property Insurance Policy and Casualty Loss

      51.      At all times relevant hereto, Lee was the insured pursuant to an insurance contract

whereby USAA agreed to insure, inter alia, the Lee Home against property damage, bearing Policy

No. USAA01469618092A (the “Lee Policy”). As relevant hereto, the term of the Lee Policy was

January 6, 2017 to January 6, 2018.

      52.      A copy of the declarations page of the Lee Policy is attached hereto as Exhibit “5”.

      53.      The Lee Policy provided insurance coverage for direct physical loss to the buildings

located on the insured premises, except as specifically excluded or limited by the Lee Policy.



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      54.       This lawsuit only concerns property insurance coverage for buildings, and not

personal contents, such as clothes and furniture.

      55.       Pursuant to the Lee Policy, Lee paid USAA an annual premium in exchange for

insurance coverage. The required premiums were paid at all times relevant to this pleading.

      56.       On or about February 20, 2017, the Lee Home suffered a fire loss (the “Lee Loss”).

      57.       The Lee Policy was in effect at the time of the Lee Loss, and the Lee Loss is

compensable under the terms of the Lee Policy. As it relates to the Lee Loss, there is no applicable

exclusion.

      58.       Lee promptly notified USAA of the Lee Loss and made a claim against the Lee

Policy.

      59.       After its inspection, USAA determined that the Lee Loss was covered by the terms

of the Lee Policy.

      60.       For the Lee Home, USAA calculated its ACV payment obligation to Lee by first

estimating the cost to repair or replace the damage with new materials (RCV), then subtracted

depreciation.

      61.       The Lee Policy defines ACV as “the amount it would cost to repair or replace

covered property, at the time of loss or damage, with material of like kind and quality, subject to

a deduction for deterioration, depreciation and obsolescence.”

   F. USAA’s Calculation of Lee’s ACV Payment

      62.       In adjusting Lee’s claim, USAA affirmatively and unilaterally chose to use a

“replacement cost less depreciation” methodology to calculate the losses and make its ACV

payment to Plaintiff.




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     63.       USAA did not calculate any portion of Lee’s casualty loss by reference to or

analysis of the alleged increases or decreases in the market value of his property, or the market

value of any portion of his property. USAA did not conduct an appraisal of the market value of

any portion of Lee’s property.

     64.       USAA has waived, and is estopped from asserting, any right to contend that ACV

should have been calculated under any methodology other than the methodology actually used by

USAA, specifically including any market value methodology.

     65.       USAA used commercially-available computer software to make its RCV,

depreciation and ACV calculations.

     66.       USAA calculated the RCV of Lee’s damaged property at $172,856.84.

     67.       USAA then calculated the depreciation for Lee’s damaged property at $40,755.39

and, after subtracting the $1,000.00 deductible, issued Lee an ACV payment in the amount of

$131,101.45.

     68.       A copy of USAA’s calculation for Lee is attached as Exhibit “6”.

     69.       Lee was underpaid on his ACV claim as more fully described below.

   G. The Smith Property Insurance Policy and Casualty Loss

     70.       At all times relevant hereto, Smith was the insured pursuant to an insurance contract

whereby UGIC agreed to insure, inter alia, the Smith Home against property damage, bearing

Policy No. GIC04148878490A (the “Smith Policy”). As relevant hereto, the term of the Smith

Policy was October 26, 2017 to October 26, 2018.

     71.       A copy of the Smith Policy is attached hereto as Exhibit “7”.




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       72.       The Smith Policy provided insurance coverage for direct physical loss to the

 buildings located on the insured premises, except as specifically excluded or limited by the Smith

 Policy.

       73.       This lawsuit only concerns property insurance coverage for buildings, and not

 personal contents, such as clothes and furniture.

       74.       Pursuant to the Smith Policy, Smith paid UGIC an annual premium in exchange for

 insurance coverage. The required premiums were paid at all times relevant to this pleading.

       75.       On or about December 24, 2017, the Smith Home suffered a fire loss (the “Smith

 Loss”).

       76.       The Smith Policy was in effect at the time of the Smith Loss, and the Smith Loss is

 compensable under the terms of the Smith Policy. As it relates to the Smith Loss, there is no

 applicable exclusion.

       77.       Smith promptly notified UGIC of the Smith Loss and made a claim against the

 Smith Policy.

       78.       After its inspection, UGIC determined that the Smith Loss was covered by the terms

 of the Smith Policy.

       79.       For the Smith Home, UGIC calculated its ACV payment obligation to Smith by

 first estimating the cost to repair or replace the damage with new materials (RCV), then subtracted

 depreciation.

       80.       The Smith Policy defines ACV as “the amount it would cost to repair or replace

 covered property, at the time of loss or damage, with material of like kind and quality, subject to

 a deduction for deterioration, depreciation and obsolescence.” This definition is identical in the

 Koester, Chase, Lee, and Smith Policies.



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    H. UGIC’s Calculation of Smith’s ACV Payment

       81.      In adjusting Smith’s claim, UGIC affirmatively and unilaterally chose to use a

 “replacement cost less depreciation” methodology to calculate the losses and make its ACV

 payment to Plaintiff.

       82.      UGIC did not calculate any portion of Smith’s casualty loss by reference to or

 analysis of the alleged increases or decreases in the market value of his property, or the market

 value of any portion of his property. UGIC did not conduct an appraisal of the market value of

 any portion of Smith’s property.

       83.      UGIC has waived, and is estopped from asserting, any right to contend that ACV

 should have been calculated under any methodology other than the methodology actually used by

 UGIC, specifically including any market value methodology.

       84.      UGIC used commercially-available computer software to make its RCV,

 depreciation and ACV calculations.

       85.      UGIC calculated the RCV of Smith’s damaged property at $9,563.36.

       86.      UGIC then calculated the depreciation for Smith’s damaged property at $1,589.15

 and, after subtracting the $1,000.00 deductible, issued Smith an ACV payment in the amount of

 $8,563.36.

       87.      A copy of UGIC’s calculation for Smith is attached as Exhibit “8”.

       88.      Smith was underpaid on his ACV claim as more fully described below.


    I. Defendants’ Practice of Depreciating Labor

       89.      In this pleading, whenever reference is made to depreciating “labor,” “labor” means

 intangible non-materials, specifically including both the labor costs and the laborers’ equipment

 costs necessary to restore a policyholder’s property to its condition immediately prior to a loss, as


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 well as “removal” costs to remove damaged property, under the claims estimating software

 program described below.

       90.      When calculating Plaintiffs’ ACV benefits owed under the respective policies,

 Defendants withheld the costs of labor necessary to repair or replace Plaintiffs’ properties, even

 though labor does not depreciate in value over time. Defendants depreciated costs associated with

 non-materials, i.e., labor, throughout its ACV calculations.

       91.      Defendants’ withholding of labor costs associated with the repair or replacement of

 Plaintiffs’ properties resulted in Plaintiffs receiving payment for their losses in an amount less than

 Plaintiffs were entitled to receive under their policies. Defendants breached their obligations under

 the policies by improperly depreciating the cost of labor and other non-materials when calculating

 its ACV payment obligations. Further, to the extent Defendants belatedly repaid previously

 withheld labor as depreciation, such as for Plaintiff Koester, Koester has also been damaged by

 the lost time value of money.

       92.      Plaintiffs cannot determine the precise amount of labor that has been withheld as

 depreciation based upon the written estimates provided by Defendants.

       93.      Plaintiffs concede that finished goods and construction materials can diminish in

 value over time due to use, wear, obsolescence, and age. Therefore, finished goods and

 construction materials depreciate. In contrast, both removal labor and installation labor are not

 susceptible to aging or wear. Their value does not diminish over time. Conceptually, practically,

 and under common understanding, depreciation cannot be applied to labor to remove damaged

 property or repair damaged property in the context of indemnification insurance.

       94.      Labor, by its nature, does not depreciate, and an insurer therefore may not

 “depreciate” labor. For example, materials used in the repair or replacement of a roof (roofing



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 shingles) diminish in value over time due to the wear that age and use inflict on them. In contrast,

 prospective removal and repair labor is not susceptible to aging or wear, it does not lose value over

 time, and there is no depreciable life of labor. Labor’s value does not diminish over time; only the

 materials depreciate.

         95.     Defendants’ practice of withholding labor costs as depreciation is inconsistent with

 the universally accepted premise that the fundamental purpose of property insurance is to provide

 indemnity to policyholders. To indemnify means to put the insured back in the position he or she

 enjoyed before the loss—no better and no worse. A policy, like Defendants’ policies, that provides

 for payment of the ACV of a covered loss is an indemnity contract because the purpose of an ACV

 payment is to make the insured whole after the loss that occurred.

         96.     While an insurer may lawfully depreciate material costs when calculating the

 amount of an ACV payment owed to an insured, it may not lawfully withhold removal and repair

 labor as depreciation. Defendants’ failure to pay the full cost of the labor necessary to return

 Plaintiffs back to their pre-loss condition left Plaintiffs under-indemnified and underpaid for their

 losses.

         97.     Defendants materially breached their duty to indemnify Plaintiffs by withholding

 labor costs (and/or delaying payment in breach of the policies) associated with repairing or

 replacing Plaintiffs’ property in their ACV payments, thereby paying Plaintiffs less than they were

 entitled to receive under the terms of the policies, and / or making untimely payments in breach of

 the contract.

    J.     The Length Of The Putative Class Period




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       98.      The maximum length of the putative class period is dependent upon inter alia the

 accrual of the causes of action for breach of contract, including but not limited to inherent

 discoverability of the breach.

       99.      In addition, any affirmative defenses that may be plead seeking to limit the length

 of the putative class period are subject to judicial doctrines concerning the accrual of the putative

 class members’ claim and the concealment of the same by Defendants.

      100.      Defendants concealed their practice of withholding labor as depreciation from both

 state regulators and putative class members.

      101.      Specifically, as it relates to Tennessee regulators, in 2008, the National Association

 of Insurance Commissioners (“NAIC survey”) published a copyrighted survey of state insurance

 departments and their respective positions on the depreciation of labor.            The Tennessee

 Department of Insurance (“TDOI”) formally responded to the survey.

      102.      As a prominent national property insurers that do a significant amount of business

 in Tennessee, Defendants knew or should have known of the existence of the NAIC survey and

 the TDOI’s responses to the same.

      103.      First, the NAIC survey asked Tennessee regulators “Does your state allow the

 depreciation of labor under an actual cash value (ACV) loss settlement provision for property?”

 The TDOI stated in response: “It is generally the belief that labor is not depreciable, but the

 Department has no written position on the matter. We believe there is some case law supporting

 this aspect. To our knowledge, this is not a problem here.”

      104.      Second, the survey also asked Tennessee regulators “Is depreciation for labor

 allowed on an ACV roof if it is totally replaced?” The TDOI stated in response: “We do not




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 believe insurers are depreciating labor unless their provision calls for it. At least one insurer has

 a policy provision addressing this issue.”

      105.       By at least 2008 then, Defendants were aware of or should have been aware that

 the TDOI took a position against the depreciation of labor based upon the NAIC 2008 survey, and

 that the TDOI believed that insurers were not engaging in the practice within the State of Tennessee

 unless their policy language called for labor depreciation.

      106.       At all times relevant hereto, Defendants’ insurance policies neither addressed nor

 called for removal or repair labor to be withheld as depreciation. Similarly, Defendants’ marketing

 materials did not address this practice, and consumers were not told of this practice when

 purchasing Defendants’ property insurance products. Defendants never notified the TDOI that its

 understandings as set forth in the NAIC survey were incorrect, and that Defendants were in fact

 withholding labor within the State of Tennessee and elsewhere under property policies that did not

 call for that practice.

      107.       Additionally, the Mississippi Insurance Commissioner issued a bulletin on August

 4, 2017, which stated:




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      108.      Despite this directive from Mississippi’s highest-ranking insurance regulator,

 Defendants continued to withhold labor from actual cash value payments as depreciation without

 any disclosure of same in their policies or on the claim estimates provided to policyholders. For

 example, the Smith Loss occurred several months after Commissioner Chaney’s August 2017

 bulletin, but yet UGIC depreciated labor in its estimate of the Smith Loss without “clearly set[ting]

 out any such depreciation on the estimate” and without “clearly provid[ing] for the depreciation of

 labor in the [Smith Policy].”

      109.      To further conceal its practice of withholding labor as depreciation, and to avoid

 any disputes with regulators and policyholders who made claims, Defendants unfairly used their

 claim estimating software to conceal its practice from policyholders.



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      110.      Like most property insurers, Defendants used a product called Xactimate to

 determine the amount of depreciation to apply to a claim. Xactimate is used by both insurers and

 contractors to calculate the cost of rebuilding or repairing damaged property. Xactimate uses “line

 item” pricing to determine repair costs.

      111.      For all line items, Xactimate allows an insurer to depreciate labor by toggling on or

 off depreciation settings called “depreciate removal” and “depreciation non-material.” If both of

 these settings are toggled on, then all line items will show the withholding of labor as depreciation.

      112.       Defendants affirmatively hid their use of these two labor depreciation settings in

 Xactimate from both policyholder claimants and insurance regulators, if any, that may have

 investigated the same, by not depreciating “pure labor line items” that would obviously reflect the

 withholding of labor.

      113.      For example, in Ex. “2”, UGIC did not depreciate the removal labor associated with

 the pure labor line item “Demolish/remove – bedroom/room.” This would lead a regulator or

 policyholder to believe that UGIC was not depreciating any labor. However, in other line items

 in the estimate, UGIC did use the depreciation setting to withhold labor when the line item

 reflected the mixed use of materials and labor.

      114.      In other words, UGIC only withheld labor from line items in estimates provided to

 policyholders where the policyholder could not detect the practice of withholding labor as

 depreciation. UGIC did not make a principled decision to depreciate labor for Plaintiffs claim, but

 rather UGIC only depreciated labor in line items where it would be difficult if not impossible to

 detect the practice.




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      115.      As a result, Defendants purposely intended to prevent an ordinary consumer or

 insurance regulator to know that Defendants depreciated labor, and not merely materials, when

 making ACV payments to policyholders.

      116.      At all times relevant hereto, Defendants were under an affirmative duty to fairly

 disclose the manner in which it calculated ACV payments to policyholders. In addition, when

 providing estimates to Plaintiffs and similarly situated policyholders, Defendants were under a

 duty to be truthful, and to not deceive by omission.

      117.      Defendants were in a superior position over policyholders to know that they were

 depreciating labor through Xactimate. Defendants’ policyholders are not sophisticated in

 insurance claims handling procedures like Defendants. In addition, Defendants controlled the

 settings for the software, which expressly permit a company to properly limit depreciation to

 materials only. Moreover, policyholders do not have access to Defendants’ software to determine

 whether it was used to depreciate labor costs. Without such access, and due to Defendants’

 affirmative steps taken to conceal their depreciation of labor costs, Defendants’ policyholders

 lacked the same access to information enjoyed by Defendants and could not determine that

 Defendants were depreciating labor costs.

      118.      The practice was therefore not disclosed in the insurance policy, in the claim

 estimate, in the marketing materials, nor in the e regulatory filings of Defendants. The affirmative

 steps Defendants took to conceal the cause of action for breach of the insurance contract were

 material facts that a reasonable person would have considered important in deciding whether to

 purchase insurance and/or accept ACV payments from Defendants.

      119.      Defendants’ depreciation of labor costs was inherently undiscoverable by its very

 nature by its policyholders and thus Defendants’ policyholders would not be—and in fact were



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 not—aware that Defendants depreciated labor costs when calculating ACV despite policyholders’

 due diligence. Defendants are solely at fault for their policyholders’ lack of knowledge about

 Defendants’ depreciation of labor costs.

      120.      Defendants have made false statements suggesting that they stopped withholding

 labor as depreciation from ACV payments since 2015 pursuant to their own property handling

 guidelines.   These statements are false, as Defendants have continued to withhold labor as

 depreciation from ACV payments of Tennessee and Mississippi policyholders.

      121.      The concealment of information in estimates and other statements was performed

 by Defendants with the intent that policyholders believed that only materials were being

 depreciated when receiving ACV claim payments, and that policyholders would not know that

 their claim payments were actually diminished by the withholding of repair labor through the

 unfair manipulation of the Xactimate software and that policyholders would not contest the

 concealed practice in court or through regulatory action.

                                     AMOUNT IN CONTROVERSY

      122.      Upon information and belief, the amount in controversy with respect to the

 proposed class exceeds $5,000,000, exclusive of interest and costs.

                                CLASS ACTION ALLEGATIONS

      123.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

 lawsuit as a class action on behalf of themselves and on behalf of all others similarly situated. This

 action satisfies the requirements of numerosity, commonality, typicality, and adequacy of




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 representation.     Only to the extent it is a requirement under applicable law, the class is

 ascertainable.

      124.         The proposed class that Plaintiffs seek to represent is defined as follows:

             All USAA and UGIC policyholders under any property policies issued
             by USAA and/or UGIC who made: (1) a structural damage claim for
             property located in the States of Tennessee or Mississippi; and (2)
             which resulted in an actual cash value payment from which “non-
             material depreciation” was withheld from the policyholder; or which
             should have resulted in an actual cash value payment but for the
             withholding of “non-material depreciation” causing the loss to drop
             below the applicable deductible.

             In this definition, “non-material depreciation” means application of
             either the “depreciate removal,” “depreciate non-material” and/or
             “depreciate O&P” option settings within Xactimate software.

             The class period for the proposed class is the maximum time period as
             allowed by applicable law.

             The class excludes all claims arising under policy forms expressly
             permitting the “depreciation” of “labor” within the text of the policy
             form and any claims in which the actual cash value payments exhausted
             the applicable limits of insurance

      125.         Plaintiffs reserve the right to amend the definition of the proposed class. The

 following persons are expressly excluded from the Class: (1) Defendants and their subsidiaries and

 affiliates; (2) all persons who make a timely election to be excluded from the proposed Class; and

 (3) the Court to which this case is assigned and its staff.

      126.         Plaintiffs and members of the putative class as defined all have Article III standing

 as all such persons and entities, at least initially, received lower claim payments than permitted

 under the policy. Certain amounts initially withheld as depreciated labor may be later repaid to

 policyholders (such as Plaintiff Koester) upon further adjustment of the claim.                 However,

 policyholders including Plaintiff Koester who have been subsequently repaid in whole or in part

 for initially withheld labor depreciation still have incurred damages, at the least, in the form of the


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 lost “time value” of money during the period of withholding, i.e., interest on the amounts

 improperly withheld, for the time period of withholding.

      127.       Specifically, under Tennessee and Mississippi state law, Plaintiffs and members of

 the putative class who have been wrongfully deprived of money by the withholding of labor from

 ACV payments have been damaged in two ways. First, they have been damaged because they

 have not received the money to which they are entitled. Second, they have been damaged because

 they have been deprived of the use of that money from the time they should have received it until

 it was or is paid in full. In Tennessee and Mississippi, prejudgment interest compensates the

 wronged party for the loss of the use of the money he, she or it should have received earlier but

 for the breach of contract.

      128.       The members of the proposed class are so numerous that joinder of all members is

 impracticable. Plaintiffs reasonably believe that hundreds or thousands of people geographically

 dispersed across Tennessee and Mississippi have been damaged by Defendants’ actions. The

 names and addresses of the members of the proposed class are readily identifiable through records

 maintained by Defendants or from information readily available to Defendants.

      129.       The relatively small amounts of damage suffered by most members of the proposed

 class make filing separate lawsuits by individual members economically impracticable.

      130.       Defendants have acted on grounds generally applicable to the proposed class in that

 Defendants have routinely depreciated labor costs in their adjustment of property damage claims

 under its policies of insurance. It is reasonable to expect that Defendants will continue to withhold

 labor as depreciation to reduce the amount they pay to their insureds under these policies absent

 this lawsuit.




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      131.      Common questions of law and fact exist as to all members of the proposed class

 and predominate over any questions affecting only individual members. The questions of law and

 fact common to the proposed class include, but are not limited to:

             a. Whether Defendants’ policy language allows them to withhold labor as
                depreciation in its calculation of ACV payments;

             b. Whether Defendants’ policy language is ambiguous concerning the practice of
                withholding labor as depreciation when calculating ACV payments, and, if so, how
                Defendants’ insurance policies should be interpreted;

             c. Whether Defendants’ withholding of labor as depreciation in their calculation of
                ACV payments breaches the insurance policies;

             d. Whether Defendants have a custom and practice of withholding labor as
                depreciation in their calculation of ACV payments;

             e. Whether Plaintiffs and members of the proposed class have been damaged as a
                result of Defendants’ withholding of labor as depreciation in their calculation of
                ACV payments;

             f. Whether Plaintiffs and members of the proposed class are entitled to a declaration,
                as well as potential supplemental relief, under the Declaratory Judgment Act; and

             g. Whether Plaintiffs and members of the proposed class are entitled to equitable relief
                in the form of specific performance, unjust enrichment, declaratory relief or
                restitutionary damages.

      132.      Plaintiffs’ claims are typical of the claims of all proposed class members, as they

 are all similarly affected by Defendants’ custom and practice concerning withholding labor as

 depreciation. Further, Plaintiffs’ claims are typical of the claims of all proposed class members

 because their claims arise from the same practices and course of conduct that give rise to the claims

 of the class members and are based on the same factual and legal theories. Plaintiffs are not

 different in any material respect from any other member of the proposed class.

      133.      Plaintiffs and their counsel will fairly and adequately protect the interests of the

 members of the proposed class. Plaintiffs’ interests do not conflict with the interests of the



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 proposed class they seek to represent. Plaintiffs have retained lawyers who are competent and

 experienced in class action and insurance litigation. Plaintiffs and Plaintiffs’ counsel have the

 necessary financial resources to adequately and vigorously litigate this class action, and Plaintiffs

 and counsel are aware of their fiduciary responsibilities to the Class members and will diligently

 discharge those duties by vigorously seeking the maximum possible recovery for the Class while

 recognizing the risks associated with litigation.

      134.       A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy. Joining all proposed class members in one action is impracticable

 and prosecuting individual actions is not feasible. The size of the individual claims is likely not

 large enough to justify filing a separate action for each claim. For many, if not most, members of

 the proposed class, a class action is the only procedural mechanism that will afford them an

 opportunity for legal redress and justice. Even if proposed class members had the resources to

 pursue individual litigation, that method would be unduly burdensome to the courts in which such

 cases would proceed. Individual litigation exacerbates the delay and increases the expense for all

 parties, as well as the court system. Individual litigation could result in inconsistent adjudications

 of common issues of law and fact.

      135.       In contrast, a class action will minimize case management difficulties and provide

 multiple benefits to the litigating parties, including efficiency, economy of scale, unitary

 adjudication with consistent results and equal protection of the rights of Plaintiffs and members of

 the proposed class. These benefits would result from the comprehensive and efficient supervision

 of the litigation by a single court.

       136.      Questions of law or fact common to Plaintiffs and the proposed class members,

 including those identified above, predominate over questions affecting only individual members



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 (if any), and a class action is superior to other available methods for the fair and efficient

 adjudication of the controversy. Class action treatment will allow a large number of similarly

 situated consumers to prosecute their common claims in a single forum, simultaneously,

 efficiently, and without the necessary duplication of effort and expense that numerous individuals

 would require. Further, the monetary amounts due to many individual proposed class members are

 likely to be relatively small, and the burden and expense of individual litigation would make it

 difficult or impossible for individual proposed class members to seek and obtain relief. On the

 other hand, a class action will serve important public interests by permitting consumers harmed by

 Defendants’ unlawful practices to effectively pursue recovery of the sums owed to them, and by

 deterring further unlawful conduct. The public interest in protecting the rights of consumers favors

 disposition of the controversy in the class action form.

      137.      Class certification is further warranted because Defendants have acted or refused

 to act on grounds that apply generally to the class, so final injunctive relief or corresponding

 declaratory relief is appropriate respecting the class as a whole. Plaintiffs may seek, in the

 alternative, certification of an issues class under Fed. R. Civ. P. 23(c)(4).

                                         COUNT I
                                    BREACH OF CONTRACT

      138.      Plaintiffs restate and incorporate by reference all preceding allegations.

      139.      Defendants entered into policies of insurance with Plaintiffs and members of the

 proposed class. These insurance policies govern the relationship between Defendants, Plaintiffs

 and members of the proposed class, as well as the manner in which claims for covered losses are

 handled.




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      140.       The policies of insurance between Defendants and Plaintiffs and the other proposed

 class members are binding contracts under Tennessee and Mississippi law, supported by valid

 consideration in the form of premium payments in exchange for insurance coverage.

      141.       Defendants drafted the insurance policies at issue, which are essentially identical

 in all respects material to this litigation.

      142.       In order to receive ACV claim payments, Plaintiffs complied with all material

 provisions and performed all of their respective duties with regard to their insurance policies.

      143.       The policies of insurance Defendants issued to Plaintiffs and members of the

 proposed class state that, in the event of a loss, Defendants may fulfill their full or initial

 contractual obligation to an insured party by paying the ACV of the loss. At all times relevant

 hereto, Defendants’ custom and practice has been, and is, to make such payments based upon

 Defendants’ calculation of the ACV for the partial loss, less any applicable deductible.

      144.       Defendants breached their contractual duty to pay Plaintiffs and members of the

 proposed class the ACV of their claims by unlawfully withholding labor as depreciation.

      145.       Defendants’ actions in breaching their contractual obligations to Plaintiffs and

 members of the proposed class benefitted and continue to benefit Defendants. Likewise,

 Defendants’ actions damaged and continue to damage Plaintiffs and members of the proposed

 class.

      146.       Defendants’ s actions in breaching their contractual obligations, as described

 herein, are the direct and proximate cause of damages to Plaintiffs and members of the proposed

 class.

      147.       In light of the foregoing, Plaintiffs and members of the proposed class are entitled

 to recover damages sufficient to make them whole for all amounts Defendants unlawfully withheld



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 or delayed from their ACV payments as labor cost depreciation, including unrecovered depreciated

 labor costs and interest on any withheld or delayed labor cost depreciation withholdings.

      148.      Plaintiffs and members of the proposed class seek any and all relief as may be

 permitted under Tennessee and Mississippi law to remedy the ongoing breaches of contract.

                                    COUNT II
                         DECLARATORY JUDGMENT AND RELIEF

      149.      Plaintiffs restate and incorporate by reference all preceding allegations.

      150.      This Court is empowered by the Declaratory Judgment Act as codified at 28 U.S.C.

 § 2201 and Fed. R. Civ. P. 57 to declare the rights and legal relations of parties regardless of

 whether or not further relief is or could be claimed.

      151.      A party may seek to have insurance contracts, before or after a breach, construed

 to obtain a declaration of rights, status, and other legal relations thereunder adjudicated.

      152.      Plaintiffs and members of the proposed class have complied with all relevant

 conditions precedent in their contracts.

      153.      Plaintiffs seek, personally and on behalf of the proposed class, a declaration that

 Defendants' property insurance contracts prohibit the withholding of labor costs as depreciation

 when adjusting partial losses under the methodology employed here.

      154.      Plaintiffs further seek, personally and on behalf of the proposed class, any and all

 equitable relief available under the law that the Court deems necessary and proper to the

 administration of justice, including, but not limited to, identifying and locating policyholders, and

 notifying the same of the circumstances complained of and the restoration of their rights and

 remediation of their losses, and preclusion by Defendants in engaging in the conduct described

 herein, as may be permitted by law.

      155.      Plaintiffs and members of the proposed class have suffered injuries.


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                                           JURY DEMAND

 Plaintiffs hereby demand a trial by jury.

                                         PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

 respectfully request that this Court:

        1.      Enter an order certifying this action as a class action, appointing Plaintiffs Donald

 Koester,John Chase, Earnest Lee and Charles McCaleb a/k/a/ Charles Smith as the representatives

 of the class, and appointing Plaintiffs’ attorneys as counsel for the class;

        2.      Enter a declaratory judgment, declaring that Defendants’ practice of withholding

 labor costs as depreciation is contrary to and breaches the insurance policies issued to Plaintiffs

 and members of the class;

        3.      Enter a preliminary and permanent injunction and equitable relief against

 Defendants and their officers, agents, successors, employees, representatives, and any and all

 persons acting in concert with them, from engaging in each of the policies, practices, customs, and

 usages complained of herein;

        4.      Enter an order that Defendants specifically perform and carry out policies,

 practices, and programs that remediate and eradicate the effects of their past and present practices

 complained of herein;

        5.       Award compensatory damages for all sums depreciated as labor costs under the

 policy, plus prejudgment interest on all such sums, to Plaintiffs and members of the class;

        6.      Award costs, expenses, and disbursements incurred herein by Plaintiffs and

 members of the class;

        7.      Pre- and Post-Judgment interest; and



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 8.    Grant such further and additional relief as the Court deems necessary and proper.

                                            GILBERT McWHERTER
                                            SCOTT BOBBITT PLC

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                                 CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing Second Amended Complaint was filed and
 served via the Court’s ECF filing system which will send electronic notices of same to all counsel
 of record on this the 21st day of August, 2019.

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                                              _/s/_J.Brandon McWherter_______________




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